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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF KANSAS


MUHAMMAD ISMAEL WALIALLAH,

                            Petitioner,

          v.                                       CASE NO. 21-3242-SAC

SHANNON MEYER,


                            Respondent.


                         MEMORANDUM AND ORDER



     This matter is a petition for writ of habeas corpus filed

pursuant to 28 U.S.C. § 2254. Petitioner Muhammad Ismael Waliallah,

who proceeds pro se, is incarcerated under a state sentence at

Lansing Correctional Facility in Lansing, Kansas. The Court has

conducted an initial review of the Petition (Doc. 1) under Rule 4

of the Rules Governing Section 2254 Cases in the United States

District Courts and finds that:

     1. Petitioner is presently a prisoner in the custody of the
       State of Kansas; and

     2. Petitioner demands his release from such custody, and as

       grounds therefore alleges that he is being deprived of his

       liberty in violation of his rights under the Constitution

       of the United States, and he claims that he has exhausted

       all remedies afforded by the courts of the State of Kansas.

     IT IS THEREFORE ORDERED:
     1. That Respondent is hereby required to show cause within

       thirty (30) days from the date of this order why the writ

       should not be granted.
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 2. That the response should present:

       a. The necessity for an evidentiary hearing on each of

          the grounds alleged in Petitioner’s pleading; and

       b. An analysis of each of said grounds and any cases and

          supporting     documents   relied   upon    by   Respondent     in

          opposition to the same.

 Respondent shall cause to be forwarded to this court for

 examination and review the following:

       The     records   and   transcripts,   if     available,    of    the

 criminal proceedings complained of by Petitioner; if a direct

 appeal of the judgment and sentence of the trial court was

 taken by Petitioner, Respondent shall furnish the records, or

 copies thereof, of the appeal proceedings.

 3. Upon the termination of the proceedings herein, the clerk

    of this Court will return to the clerk of the proper state

    court all state court records and transcripts.

 4. That Petitioner be granted thirty (30) days after receipt

    by him of a copy of Respondent’s answer and return to file
    a traverse thereto, admitting or denying, under oath, all

    factual allegations therein contained.

 5. That the clerk of this Court then return this file to the

    undersigned judge for such other and further proceedings as

    may   be   appropriate;    and   that   the   clerk    of   this   Court

    transmit copies of this order to Petitioner and to the

    office of the Attorney General for the State of Kansas.


 IT IS SO ORDERED.
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 DATED:   This 10th day of November, 2021, at Topeka, Kansas.




                              S/ Sam A. Crow

                              SAM A. CROW
                              U.S. Senior District Judge
